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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 SECURITIES AND EXCHANGE                          §
 COMMISSION,                                      §
                                                  §             Case No. 6:23-cv-00321-ADA
 V.                                               §
                                                  §
 ROY W. HILL, et al.                              §

  APPENDIX IN SUPPORT OF RECEIVER’S THIRD INTERIM FEE APPLICATION



                                                       Respectfully submitted,

                                                       /s/ Dennis Roossien
                                                       Dennis L. Roossien, Jr.
                                                       Tex. Bar No. 00784873
                                                       MUNSCH HARDT KOPF & HARR, P.C.
                                                       3800 Lincoln Plaza
                                                       500 North Akard Street
                                                       Dallas, TX 75201-6659
                                                       (214) 740-5108
                                                       (214) 855-7584 (facsimile)




                                 CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed this document with the Clerk using the electronic
case filing system of the court. The electronic case filing system sends a “Notice of Electronic
Filing” to the attorneys of record in this case with a link to all pleadings simultaneously with the
filing thereof.



                                                       /s/ Dennis Roossien
                                                       Dennis Roossien




APPENDIX IN SUPPORT OF RECEIVER’S FEE APPLICATION
                                                                                           APPX.001
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Ahuja & Clark, PLLC
2901 N. Dallas Pkwy                                                                 Invoice # 8230.CETA
Suite 320                                                                      Invoice Date: 12/31/2023
Plano, TX 75093
                                                                                 Due Date: 01/31/2023

Bill To:
Clean Energy Technology Association, Inc.
Attn: Tre Black
                                            TASK SUMMARY


 TASK       TASK DESCRIPTION                                      HOURS AMOUNT
   4900     Forensic Accounting                                     390.80               $74,878.50
            Expense Reimbursement                                                        $18,967.10


                                                  TOTAL               393.90         $93,845.60




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                                                                                      APPX.002
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Ahuja & Clark, PLLC
2901 N. Dallas Pkwy                                                                         Invoice # 8230.CETA
Suite 320                                                                           Invoice Date: 12/31/2023
Plano, TX 75093
                                                                                          Due Date: 01/31/2023

Bill To:
Clean Energy Technology Association, Inc.
Attn: Tre Black


                                       BILLING SUMMARY


    ID           TIMEKEEPER                      TITLE            HOURS         RATE         AMOUNT
    CB           Carolyn Bremer             Engagement Leader      26.70        $325.00         $8,677.50
    JK           Jared Kleinpeter             Snr Associate         8.10        $210.00         $1,701.00
    JB         Jeanne-Marie Blevins             Associate          171.00       $150.00        $25,650.00
   NTH         Natasha Toeteberg-             Snr. Associate       185.00       $210.00        $38,850.00
                     Harms


                               TOTAL                             390.80                   $74,878.50




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Ahuja & Clark, PLLC
2901 N. Dallas Pkwy                                                               Invoice # 8230.CETA
Suite 320                                                                   Invoice Date: 12/31/2023
Plano, TX 75093
                                                                               Due Date: 01/31/2023

Bill To:
Clean Energy Technology Association, Inc.
Attn: Tre Black


                                      Expense Reimbursement



     DATE                      DESCRIPTION                QUANTITY         RATE          AMOUNT
  12/11/2023              Valid8 Bank Transactions           1           $10,593.50     $10,593.50
  12/11/2023          Valid8 Check Image Transactions        1           $8,373.60       $8,373.60


                                       TOTAL                                    $18,967.10




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Ahuja & Clark, PLLC
2901 N. Dallas Pkwy                                                                        Invoice # 8230.CETA
Suite 320                                                                            Invoice Date: 12/31/2023
Plano, TX 75093
                                                                                         Due Date: 01/31/2023

Bill To:
Clean Energy Technology Association, Inc.
Attn: Tre Black


   Date       ID                                Description                               Task    Hours     Amount
                      Organize, index and review of bank statement documentation
 10/05/23    JB       provided by the Receiver, in preparation for data conversion       4900    4.00      $600.00
                      Organize, index and review of bank statement documentation
 10/06/23    JB       provided by the Receiver, in preparation for data conversion       4900    5.40      $810.00
                      Organize, index and review of bank statement documentation
 10/09/23    JB       provided by the Receiver, in preparation for data conversion       4900    4.80      $720.00
                      Organize, index and review of bank statement documentation
 10/10/23    JB       provided by the Receiver, in preparation for data conversion       4900    2.50      $375.00
                      Organize, index and review of bank statement documentation
 10/12/23    JB       provided by the Receiver, in preparation for data conversion       4900    2.50      $375.00
 10/12/23    CB       Review of files and bank statements received from Receiver.        4900    0.40      $130.00
                      Organize, index and review of bank statement documentation
 10/13/23    JB       provided by the Receiver, in preparation for data conversion       4900    6.70      $1,005.00
                      Meeting with Mr. Rossien and Mr. Wietrzykowski to discuss
 10/16/23    CB       forensic accounting support                                        4900    1.60      $520.00
                      Discussion with Ms. Blevins regarding status of bank statement
 10/16/23    CB       inventory and background information on receivership.              4900    0.50      $162.50
                      Discussion with Ms. Bremer regarding status of bank statement
 10/16/23    JB       inventory and background information on receivership.              4900    0.50      $75.00
                      Organize, index and review of bank statement documentation
 10/16/23    JB       provided by the Receiver, in preparation for data conversion       4900    6.00      $900.00
 10/17/23    JB       Review and upload all bank statement files into Valid8             4900    5.20      $780.00
                      Organize, index and review of bank statement documentation
 10/18/23    JB       provided by the Receiver, in preparation for data conversion       4900    3.50      $525.00
                      Exported all Account Data from Valid8 software. Classified
 10/20/23    NTH      deposits and payments based on payee / depositor and category.     4900    3.50      $735.00
                      Classified deposits and payments based on payee/depositor and
 10/23/23    NTH      category.                                                          4900    1.50      $315.00
                      Classified deposits and payments based on payee/depositor and
 10/23/23    NTH      category.                                                          4900    5.50      $1,155.00
                      Classified Trust 2 Account expenses and deposits. Created visual
 10/24/23    NTH      chart based on Trust Account 2 inflows/outflows.                   4900    8.00      $1,680.00
                      Analyzed payments and deposits data for potentially improper or
                      illegitimate transfers; prepared summary by vendor and expense
 10/25/23    NTH      category.                                                          4900    2.00      $420.00
                      Analyzed payments and deposits data for potentially improper or
                      illegitimate transfers; prepared summary by vendor and expense
 10/25/23    NTH      category.                                                          4900    2.00      $420.00
                      Prepared quality check and check for reasonableness of
 10/26/23    NTH      deposit/payment summary.                                           4900    3.00      $630.00

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  Date     ID                              Description                             Task    Hours    Amount
10/30/23   CB    Reviewed summary of bank activity for Trust #2 account            4900   0.40     $130.00
                 Uploaded ten additional accounts worth of bank statements and
                 check images to Valid8; created accounts within Valid8 and
11/02/23   JB    assigned respective accounts;                                     4900   2.00     $300.00
                 Prepared workpaper templates for bank account analyses, based
11/02/23   NTH   on processed data from Valid8.                                    4900   2.50     $525.00
11/02/23   CB    Review of bank statement files for conversion and analysis.       4900   0.20     $65.00
                 Review processed statements and check images in Valid8; review
11/03/23   JB    items that needed to be reconciled.                               4900   0.50     $75.00
                 Prepared account summary templates and folders for 10
11/06/23   NTH   receivership accounts to be analyzed.                             4900   3.00     $630.00
11/06/23   JB    Compiled source data for analysis.                                4900   0.70     $105.00
                 Review and analysis on CETA, Inc. E-S Special Account - Wells
11/06/23   JB    Fargo #1218.                                                      4900   2.40     $360.00
                 Exported all receivership account data from Valid8 after
                 processing; Performed deposit & payment analysis for Roy W Hill
11/07/23   NTH   Trust #21 account x9758.                                          4900   8.00     $1,680.00
                 Review and analysis on CETA, Inc. E-S Special Account - Wells
11/07/23   JB    Fargo #1218; check images issue with Valid8.                      4900   6.50     $975.00
                 Performed Deposit & Payment analysis for Roy W Hill Trust #21
                 account x9758. Classified transactions according to depositor /
                 payee and vendor categories. Created visual tables to summarize
11/08/23   NTH   account activity.                                                 4900   8.00     $1,680.00
                 Review and analysis on CETA, Inc. E-S Special Account - Wells
11/08/23   JB    Fargo #1218; check images issue with Valid8.                      4900   6.50     $975.00
                 Performed Deposit & Payment analysis for Clean Energy
                 Technology Association Inc. D/Z x9045. Classified transactions
                 according to depositor/payee and vendor categories. Created
11/09/23   NTH   visual tables to summarize account activity.                      4900   8.00     $1,680.00
                 Review and analysis on CETA, Inc. E-S Special Account - Wells
                 Fargo #1218; fixed check images issue in Valid8. Prepared
11/09/23   JB    summaries.                                                        4900   6.80     $1,020.00
                 Performed quality check of Deposit & Payment analysis for Clean
                 Energy Technology Association Inc. D/Z x9045. Completed visual
11/10/23   NTH   tables to summarize account activity.                             4900   7.00     $1,470.00
                 Review and analysis on CETA, Inc. E-S Special Account - Wells
11/10/23   JB    Fargo #1218; prepare visual summaries.                            4900   4.50     $675.00
                 Internal discussion with Ms. Bremer and Ms. Blevins regarding
11/13/23   NTH   status of analysis on Wells Fargo accounts.                       4900   0.50     $105.00
                 Internal discussion with Ms. Bremer and Ms. Toeteberg-Harms
11/13/23   JB    regarding status of analysis on Wells Fargo accounts.             4900   0.50     $75.00
                 Review and analysis on Wells Fargo accounts x7662, x1218,
                 x2061, x4651, and x6550, as well as creating summary tables and
11/13/23   JB    visual summaries for each account based on analysis.              4900   5.50     $825.00
                 Performed quality checks of account analysis for Wells Fargo
                 Account no. 9045; reviewed data and summary
11/13/23   NTH   tables/documentation.                                             4900   4.50     $945.00
                 Discussion with Ms. Blevins and Ms. Toeteberg-Harms regarding
11/13/23   CB    questions and status of bank statement summaries.                 4900   0.50     $162.50
                 Standardized data export for account analysis for Wells Fargo
                 account no. 8801; reviewed payee and deposit amounts to assign
11/14/23   NTH   transaction category, and research any vague transactions.        4900   4.00     $840.00
                 Correspondence with Mr. Roossien and Mr. Wietrzykowski on
11/14/23   CB    current tasks and additional statements.                          4900   0.40     $130.00
                 Review and analysis on Wells Fargo accounts x7662, x1218,
                 x2061, x4651, and x6550, as well as creating summary tables and
11/14/23   JB    visual summaries for each account based on analysis.              4900   6.80     $1,020.00

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  Date     ID                              Description                             Task    Hours    Amount
                 Review and analysis on Wells Fargo accounts x7662, x1218,
                 x2061, x4651, and x6550, as well as creating summary tables and
11/15/23   JB    visual summaries for each account based on analysis.              4900   6.80     $1,020.00
                 Prepared summaries of account flows for various Entities: Trust
                 #21 x9758, CETA, Inc. D/Z Special x9045, CETA Holdings, Inc.
                 x8801, Trust Account #2 x8568, and CETA, Inc. x7738.
                 Categorized transactions, and revised descriptions as needed.
                 Standardized all payee and depositor names for summary
11/15/23   NTH   tables; updated charts and quality-checked                        4900   4.00     $840.00
                 Review and analysis on Wells Fargo accounts x7662, x1218,
                 x2061, x4651, and x6550, as well as creating summary tables and
11/16/23   JB    visual summaries for each account based on analysis.              4900   7.00     $1,050.00
                 Review of bank activity and summary of W Hill Trustee Trust #3
11/16/23   CB    and Roy Hill Trust #21 accounts                                   4900   1.70     $552.50
                 Prepared summaries of account flows for various Entities: Trust
                 #21 x9758, CETA, Inc. D/Z Special x9045, CETA Holdings, Inc.
                 x8801, Trust Account #2 x8568, and CETA, Inc. x7738.
                 Categorized transactions, and revised descriptions as needed;
                 standardized all payee and depositor names for summary tables;
                 updated charts and quality checked. Addressed review notes from
11/16/23   NTH   2nd-level reviewer.                                               4900   2.50     $525.00
11/16/23   CB    Review of feeder fund file                                        4900   0.30     $97.50
                 Prepared summaries of account flows for various Entities: Trust
                 #21 x9758, CETA, Inc. D/Z Special x9045, CETA Holdings, Inc.
                 x8801, Trust Account #2 x8568, and CETA, Inc. x7738.
                 Categorized transactions, and revised description as needed;
                 standardized all payee and depositor names for summary
11/17/23   NTH   tables; updated charts and quality checked.                       4900   8.00     $1,680.00
                 Review and analysis on Wells Fargo accounts x7662, x1218,
                 x2061, x4651, and x6550, as well as creating summary tables and
11/17/23   JB    visual summaries for each account based on analysis.              4900   6.50     $975.00
                 Review of bank statement summaries and follow up on questions
11/17/23   CB    related to the various entities with team.                        4900   0.90     $292.50
                 Prepared summaries of account flows for various Entities: Trust
                 #21 x9758, CETA, Inc. D/Z Special x9045, CETA Holdings, Inc.
                 x8801, Trust Account #2 x8568, and CETA, Inc. x7738.
                 Categorized transactions, and revised descriptions as needed;
                 standardized all payee and depositor names for summary
11/20/23   NTH   tables; updated charts and quality checked.                       4900   8.00     $1,680.00
11/20/23   CB    Reviewed summaries of bank statement files.                       4900   2.20     $715.00
11/21/23   CB    Reviewed bank statements summaries                                4900   1.70     $552.50
                 Prepared summaries of account flows for various Entities: Trust
                 #21 x9758, CETA, Inc. D/Z Special x9045, CETA Holdings, Inc.
                 x8801, Trust Account #2 x8568, and CETA, Inc. x7738.
                 Categorized transactions, and revised descriptions as needed;
                 standardized all payee and depositor names for summary
11/21/23   NTH   tables; updated charts and quality checked.                       4900   8.00     $1,680.00
                 Prepared summaries of account flows for various Entities: Trust
                 #21 x9758, CETA, Inc. D/Z Special x9045, CETA Holdings, Inc.
                 x8801, Trust Account #2 x8568, and CETA, Inc. x7738.
                 Categorized transactions, and revised descriptions as needed;
                 standardized all payee and depositor names for summary
11/22/23   NTH   tables; updated charts and quality checked.                       4900   8.00     $1,680.00
                 Reviewed review notes for Wells Fargo accounts x7662, x1218,
                 x2061, x4651 and x6650. Reprinted summaries. Started
11/27/23   JB    spreadsheet to track checks without images for all accounts.      4900   4.40     $660.00
11/27/23   CB    Review of bank account summaries                                  4900   0.80     $260.00
11/28/23   CB    Review of missing check file and bank summaries.                  4900   0.60     $195.00
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  Date     ID                                Description                                Task    Hours    Amount
11/28/23   JK    Reconciliation of check listing to check images.                       4900   2.00     $420.00
                 Began updating Wells Fargo account x7738 with deposit and wire
                 details. Completed spreadsheet to track checks without images for
11/28/23   JB    all accounts.                                                          4900   6.00     $900.00
11/29/23   CB    Review of bank summaries.                                              4900   0.40     $130.00
11/29/23   JK    Deposit Reconciliation and analysis                                    4900   3.30     $693.00
                 Continue updating Wells Fargo account x7738 with deposit and
11/29/23   JB    wire details.                                                          4900   5.00     $750.00
11/30/23   JK    Inputting information from wires, deposits, and checks.                4900   2.80     $588.00
                 Continue updating Wells Fargo account x7738 with deposit and
11/30/23   JB    wire details. Updated summaries accordingly.                           4900   6.20     $930.00
                 Completed updating Wells Fargo account x7738 with deposit and
                 wire details. Updated summaries for three other accounts, with
                 deposit and wire details. Updated deposit and disbursement
                 summaries for all accounts. Compiled all summaries for each
12/01/23   JB    account in PDF format to be sent to attorney.                          4900   4.20     $630.00
                 Quality checks of funds transfer analysis for various accounts;
                 updated categorizations; prepared visual diagrams of fund transfer
12/01/23   NTH   summaries.                                                             4900   4.00     $840.00
                 Reviewed updated bank summaries and noted follow up tasks
                 related to reconciliation of deposits and disbursements between
12/01/23   CB    accounts.                                                              4900   1.20     $390.00
                 Reconcile all deposit and disbursements transfers between all
12/04/23   JB    bank accounts.                                                         4900   6.30     $945.00
                 Discussion with Ms. Blevins on reconciling disbursement and
12/05/23   CB    deposits between accounts                                              4900   0.40     $130.00
                 Discussion with Ms. Bremer on reconciling disbursement and
12/05/23   JB    deposits between accounts                                              4900   0.40     $60.00
                 Reconcile all deposit and disbursements transfers between all
12/05/23   JB    bank accounts.                                                         4900   6.80     $1,020.00
                 Prepared workpapers according to final template of summaries
                 after review; reviewed all summaries for consistency and
                 added footnotes for clarity; updated classification for any accounts
12/06/23   NTH   newly identified as feeder funds or related parties.                   4900   8.00     $1,680.00
                 Reconcile all deposit and disbursements transfers between all
12/06/23   JB    bank accounts.                                                         4900   6.70     $1,005.00
12/06/23   CB    Review of bank summaries and corresponding visual diagrams             4900   0.60     $195.00
                 Prepared workpapers according to final template of summaries
                 after review; reviewed all summaries for consistency and
                 added footnotes for clarity; updated classification for any accounts
12/07/23   NTH   newly identified as feeder funds or related parties.                   4900   8.00     $1,680.00
                 Reconcile all deposit and disbursements transfers between all
12/07/23   JB    bank accounts.                                                         4900   7.80     $1,170.00
                 Prepared workpapers according to final template of summaries
                 after review; reviewed all summaries for consistency and
                 added footnotes for clarity; updated classification for any accounts
12/08/23   NTH   newly identified as feeder funds or related parties.                   4900   8.00     $1,680.00
                 Reconcile all deposit and disbursements transfers between all
12/08/23   JB    bank accounts.                                                         4900   6.80     $1,020.00
                 Review of bank summaries and corresponding visual diagrams.
12/08/23   CB    Review of related party account reconciliations.                       4900   5.70     $1,852.50
                 Consolidation of all account transaction summaries to-date (10
12/11/23   NTH   accounts) and the respective summaries.                                4900   7.00     $1,470.00
12/11/23   JB    Finalize Wells Fargo account summaries for attorney.                   4900   2.80     $420.00
12/11/23   CB    Review of bank summaries and corresponding visual diagrams.            4900   0.70     $227.50
                 Consolidation of transactions for all accounts under analysis;
12/12/23   NTH   preparation of summary tables and reporting                            4900   8.00     $1,680.00

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  Date     ID                                Description                                Task    Hours         Amount
                 Prepare list of missing check images and bank statements to send
12/12/23   JB    to attorney.                                                           4900   3.50       $525.00
                 Final review of bank summaries and reconciliations. Email with
12/12/23   CB    files to attorney.                                                     4900   2.70       $877.50
                 Consolidation of Wells Fargo account data; standardization of
                 deposit/disbursement activity; preparation of summary of primary
                 account activity, and calculation of potential net investment wins /
12/13/23   NTH   losses by individual and feeder fund.                                  4900   7.00       $1,470.00
                 Consolidation of Wells Fargo account data; standardization of
                 deposit/disbursement activity; preparation of summary of primary
                 account activity, and calculation of potential net investment wins /
                 losses by individual and feeder fund. Call with Mr. Roossien and
                 Ms. Bremer to discuss requests related to bank statement
12/14/23   NTH   information                                                            4900   8.00       $1,680.00
                 Review of bank funds mapping from Mr. Roossien. Call with Mr.
                 Roossien and Ms. Toeteberg-Harms to discuss requests related to
                 bank statement information. Initial review of consolidated Wells
12/14/23   CB    Fargo accounts summary.                                                4900   1.50       $487.50
                 Consolidation of Wells Fargo account data; standardization of
                 deposit/disbursement activity; preparation of summary of primary
                 account activity, and calculation of potential net investment wins /
12/15/23   NTH   losses by individual and feeder fund.                                  4900   3.00       $630.00
                 Quality Check of consolidation of Wells Fargo account data;
                 standardization of deposit / disbursement activity; preparation of
                 summary of primary account activity, and calculation of potential
                 net investment wins / losses by individual and feeder fund.
12/18/23   NTH   Discussion with Ms. Bremer regarding results.                          4900   8.00       $1,680.00
                 Review of combined banks account summary and discussion with
12/18/23   CB    Ms. Toeteberg-Harms regarding results                                  4900   0.50       $162.50
                 Consolidation of Wells Fargo account data; standardization of
                 deposit/disbursement activity; preparation of summary of primary
                 account activity, and calculation of potential net investment wins /
12/19/23   NTH   losses by individual and feeder fund.                                  4900   6.50       $1,365.00
12/19/23   CB    Reviewed combined bank statement summary file.                         4900   0.80       $260.00



                                                                      Total                $74,878.50

                                                 NOTE: Total Fees are net of write off fees of $2,417.50.00




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                          For Professional Services October 31, 2023 for CETA/FIC




Total Professional Fees                                                                    $3,654.00


Total Fees, Expenses and Charges                                                               $0.00



Total Invoice Balance Due                                                                $3,654.00




                                   1133 South Madison Avenue - Dallas, TX 75208
                                      TEL: 800-TARGET-5 FAX: 214-941-4509
                                                 www.otsl.com
                                                                                            APPX.010
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October 31, 2023

                                                                                       Invoice No: 006

Invoice submitted for:
SEC vs. Clean Energy Technology Association/Freedom Impact Consulting – Roy Hill and Eric Shelly
1133 South Madison Avenue, Dallas, TX 75208
CASE NO. 6:23-CV-00321

       In reference to:        BILLING: October 2023


 DATE          STAFF DESCRIPTION                                                    HOURS AMOUNT
 10/2/2023     TB    Weekly meeting with receivership support services                1.10  $ 396.00
                     personnel
 10/6/2023     TB    Conf. call with forensic personnel                               0.40         $ 144.00
 10/9/2023     TB    Weekly meeting with receivership support services                0.60         $ 216.00
                     personnel
 10/12/2023    TB    Conf. call with brokerage in Florida regarding comps and         1.35         $ 486.00
                     potential representation
 10/16/2023    TB    Weekly meeting with receivership support services                1.40         $ 504.00
                     personnel
 10/18/2023    TB    Reviewed options for potential auction of assets                 1.10         $ 396.00
 10/20/2023    TB    Conf. call with forensic personnel                               0.50         $ 180.00
 10/23/2023    TB    Weekly meeting with receivership support services                0.70         $ 252.00
                     personnel
 10/25/2023    TB    Visited with expert regarding value of CETA                      1.20         $ 432.00
                     equipment/assets
 10/27/2023    TB    Conf. call with forensic personnel                               0.30         $ 108.00
 10/30/2023    TB    Weekly meeting with receivership support services                1.50         $ 540.00
                     personnel

                          Total Time and Rate of $360 p/h for Receiver, Tré Black    10.15      $3,654.00




                                1133 South Madison Avenue - Dallas, TX 75208
                                   TEL: 800-TARGET-5 FAX: 214-941-4509
                                              www.otsl.com
                                                                                             APPX.011
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                      For Professional Services November 30, 2023 for CETA/FIC




Total Professional Fees                                                                 $3,006.00


Total Fees, Expenses and Charges                                                            $0.00



Total Invoice Balance Due                                                             $3,006.00




                                1133 South Madison Avenue - Dallas, TX 75208
                                   TEL: 800-TARGET-5 FAX: 214-941-4509
                                              www.otsl.com
                                                                                         APPX.012
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November 30, 2023

                                                                                       Invoice No: 007

Invoice submitted for:
SEC vs. Clean Energy Technology Association/Freedom Impact Consulting – Roy Hill and Eric Shelly
1133 South Madison Avenue, Dallas, TX 75208
CASE NO. 6:23-CV-00321

       In reference to:        BILLING: November 2023


 DATE          STAFF DESCRIPTION                                                    HOURS AMOUNT
 11/2/2023     TB    Received update from forensic team regarding recent              0.40 $ 144.00
                     findings
 11/3/2023     TB    Continued conversation with Wells Fargo regarding                0.20     $      72.00
                     brokerage issues
 11/6/2023     TB    Weekly meeting with receivership support services                0.75     $     270.00
                     personnel
 11/9/2023     TB    Conf call with forensic personnel                                0.25     $      90.00
 11/10/2023    TB    Discussed transporting assets from former employee               0.55     $     198.00
                     property
 11/13/2023    TB    Addressed vendor payments for receivership estate                0.30     $     108.00
 11/14/2023    TB    Discussed auction plan with support service personnel of         1.15     $     414.00
                     receiver
 11/17/2023    TB    reviewed forensic reporting regarding trusts                     0.35     $     126.00
 11/20/2023    TB    Weekly meeting with receivership support services                1.30     $     468.00
                     personnel
 11/24/2023    TB    Conf call with forensic personnel                                0.10     $      36.00
 11/27/2023    TB    Weekly meeting with receivership support services                1.50     $     540.00
                     personnel
 11/28/2023    TB    Visited with brokerage firm regarding issues with Florida        0.25     $      90.00
                     listing
 11/30/2023    TB    Reviewed pre-report and received comprehensive update            1.25     $     450.00
                     from expert personnel

                          Total Time and Rate of $360 p/h for Receiver, Tré Black     8.35         $3,006.00




                                1133 South Madison Avenue - Dallas, TX 75208
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                      For Professional Services December 31, 2023 for CETA/FIC




Total Professional Fees                                                                 $2,430.00


Total Fees, Expenses and Charges                                                            $0.00



Total Invoice Balance Due                                                             $2,430.00




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                                                                                         APPX.014
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December 31, 2023

                                                                                       Invoice No: 008

Invoice submitted for:
SEC vs. Clean Energy Technology Association/Freedom Impact Consulting – Roy Hill and Eric Shelly
1133 South Madison Avenue, Dallas, TX 75208
CASE NO. 6:23-CV-00321

       In reference to:        BILLING: December 2023


 DATE          STAFF DESCRIPTION                                                    HOURS AMOUNT
 12/1/2023     TB    Conf call with forensic personnel                                0.70 $ 252.00
 12/4/2023     TB    Weekly meeting with receivership support services                0.50 $ 180.00
                     personnel
 12/6/2023     TB    Received update regarding Louisiana vehicle                      0.15     $      54.00
 12/7/2023     TB    Communicated with bank regarding update of transfer of           0.70     $     252.00
                     securities
 12/11/2023    TB    Weekly meeting with receivership support services                0.15     $      54.00
                     personnel
 12/13/2023    TB    Received update regarding new documents identified by            0.50     $     180.00
                     support service personnel
 12/14/2023    TB    Conf call to discuss FLA property and related logistics          0.40     $     144.00
 12/18/2023    TB    Weekly meeting with receivership support services                0.20     $      72.00
                     personnel
 12/20/2023    TB    Visited with expert regarding CETA sites                         1.50     $     540.00
 12/28/2023    TB    Received update and reviewed pictures of Oncor                   0.25     $      90.00
                     inspection
 12/29/2023    TB    Weekly meeting with receivership support services                1.70     $     612.00
                     personnel

                          Total Time and Rate of $360 p/h for Receiver, Tré Black     6.75         $2,430.00




                                1133 South Madison Avenue - Dallas, TX 75208
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                  For Professional Services through October 31, 2023 for CETA/FIC



Total Professional Fees                                                              $40,887.25
Albert Black                                                                           $2,750.00
Gwyneith Black                                                                         $1,650.00
Scott Sessions                                                                         $1,054.17
Ken Weithers                                                                           $2,818.75
Georgie Cornelius                                                                      $5,400.00
Bryan Bartlett                                                                         $2,610.00
Alek Wietrzykowski                                                                    $21,690.00
Stephanie Bartlett                                                                      $133.00
Jimmy James                                                                            $2,781.33


Total Fees - Storage, Expenses and Charges                                            $49,995.16
    - Storage                                                                          $7,633.70
    - Postage                                                                              $0.00
    - CETA Researcher                                                                  $7,942.51
    - Landscaping – Bateman and Streetman                                              $3,000.00
    - Security Cameras at Bateman and Streetman locations                              $3,793.95
             o Purchase, activation, and annual subscription
    - Security – Madison Central, Fairfield and Streetman locations                   $27,625.00


Total Invoice Balance Due                                                           $81,882.41




                                                                                       APPX.016
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October 31, 2023


Invoice submitted to:                                                                 Invoice No: 006
Mr. Tré Black, Receiver
RE: SEC vs. Clean Energy Technology Association/Freedom Impact Consulting – Roy Hill and Eric Shelly
1133 South Madison Avenue, Dallas, TX 75208
CASE NO. 6:23-CV-00321

       In reference to:        BILLING: October 2023



DATE         STAFF    DESCRIPTION                                                       HOURS AMOUNT
Business Operations
10/1 –       AB       Storage inspection and research on items retrieved from            10.00        $2,750.00
10/31,                Shelly property in order to ascertain value; discussions
2023                  with coin expert re: valuation; assist with title research on
                      vehicles retrieved from Hill/CETA property and valuation
                      research re: same; meet with Receiver re: valuable items

                                   Total Time and Rate of $275 for Albert Black          10.00        $2,750.00


DATE         STAFF    DESCRIPTION                                                       HOURS AMOUNT
Business Operations
10/1-        GB       Organized valuables and storage of items retrieved from             6.00        $1,650.00
10/31,                Shelly property. Research on history and valuation for
2023                  coins; met with Receiver re: same

                                Total Time and Rate of $275 for Gwyneith Black            6.00        $1,650.00


DATE           STAFF DESCRIPTION                                                        HOURS AMOUNT
Legal Activities
10/5 – 26,     SS    Weekly meeting with Receiver and Support Services Staff              3.00    $     825.00
2023
10/16/2023 SS        Conference call with D. Roossein re: valuation expert for            0.33    $      91.67
                     the equipment located at Madison warehouse and in
                     Fairfield, TX; possibility of liquidating holdings Bank of
                     America and Wells Fargo accounts and transfer accounts
                     to designated Receiver account; discuss retention of Oak
                     Cliff Motors to sale seized vehicles
10/26/2023 SS        Follow-up meeting with Receiver and support staff re:                0.50    $     137.50
                     getting listing agent for Ocala, FL home; getting market
                     comps for Central Texas properties; status of additional
                     investigation into Shelly's assets; status of moving items



                                                                                                 APPX.017
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                      from Thompson's ranch to OTSL; using drone to take
                      videos of the different properties and equipment stored
                      on same

                                 Total Time and Rate of $275 for Scott Sessions        0.83        $1,054.17




DATE         STAFF DESCRIPTION                                                       HOURS AMOUNT
Accounting / Auditing
10/20/2023    KW      Prepare SEC SFAR 3rd quarter report templates.                   2.00    $     550.00
10/20/2023    KW      Continue compiling SEC CETA 3rd Quarter SFAR Report.             2.75    $     756.25
10/23/2023    KW      Continue preparing and reconciling SEC 3rd Quarter SFAR          3.00    $     825.00
                      Report
10/24/2023    KW      Complete first draft of SEC CETA QTR 3 Receiver Report           2.50    $     687.50
                      SFAR and e-mail to Receiver, Tre’ and attorney

                             Total Time and Rate of $275 for Kenneth Weithers         10.25        $2,818.75




DATE         STAFF    DESCRIPTION                                                    HOURS AMOUNT
Business Operations
10/1 –       GC       Coordinated meetings for Receiver; worked with Alek W.          26.00        $4,680.00
10/31,                on Claims Reporting formatting; Coordinated trips to
2023                  Fairfield for support staff; coordinated lawn service with
                      Raymond Perry; Received updates and payment from
                      Leslie Freeman regarding the Fairfield Cemetery. Traveled
                      to Fairfield with Albert Black to discuss management of
                      the cemetery. Attended weekly meetings with Receiver,
                      legal and OTSL Support team
11/1/2023    GC       Prepared billing invoices for Receiver and Support               4.00         $720.00
                      Services team; worked with Stephanie Bartlett on
                      formatting for staff invoices

                             Total Time and Rate of $180 for Georgie Cornelius        30.00        $5,400.00




DATE         STAFF DESCRIPTION                                                       HOURS AMOUNT
Business Operations
10/2/2023     BB    Drove down to Streetman location to copy video from                6.50    $ 1,170.00
                    cameras and to identify and tag fixed assets
10/6/2023     BB    Drove down to Bateman location to copy video from                  8.00    $ 1,440.00
                    cameras and to identify and tag fixed assets




                                                                                              APPX.018
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                                 Total Time and Rate of $180 for Bryan Bartlett      14.50        $2,610.00




DATE         STAFF            DESCRIPTION                                           HOURS AMOUNT
Business Operations; Claims Administration
10/2/2023         AW          Drove down to Streetman plant with Bryan                6.50    $     975.00
                              Bartlett to tag and record all assets.
10/3/2023         AW          Update investor spreadsheet with new investor           8.00    $ 1,200.00
                              claims. Meeting with CETA Researcher to get
                              updates on research. Searching through CETA
                              emails to find any assets/information. Continue
                              forensic accounting spreadsheet for Trust #2 bank
                              statements. Update Streetman plant asset
                              spreadsheet.
10/4/2023         AW          Update investor spreadsheet with new investor           7.25    $ 1,087.50
                              claims. Meet with CETA Researcher to get
                              updates on research. Update forensic accounting
                              spreadsheet with Trust #2 bank statements.
                              Phone call with Tyler to discuss appraisers for
                              Ocala, FL property. Search for value of Streetman
                              plant assets.
10/5/2023         AW          Update investor spreadsheet with new investor           7.50    $ 1,125.00
                              claims. Update forensic accounting spreadsheet
                              with Trust #2 bank statements. Search for value
                              of Streetman plant assets. Search through CETA
                              Banker boxes to find any information related to
                              key words list.
10/6/2023         AW          Trip to Fairfield, Texas to put together list of        6.75    $ 1,012.50
                              assets at Bateman plant.
10/9/2023         AW          Respond to emails related to CETA. Check                1.00    $     150.00
                              investor claims.
10/10/2023        AW          Update investor spreadsheet with new investor           7.85    $ 1,177.50
                              claims. Meet with CETA Researcher to get
                              updates on research. Update forensic accounting
                              spreadsheet with Trust #2 bank statements.
                              Update asset list for Bateman Plant.
10/11/2023        AW          Update investor spreadsheet with new claim              7.50    $ 1,125.00
                              information. Phone call with Investor. Searching
                              through emails to find anything related to the key
                              words spreadsheet. Update forensic accounting
                              spreadsheet with Trust #2 bank statements.
                              Update Bateman plant asset list from photos.
10/12/2023        AW          Update investor spreadsheet with new claim              7.50    $ 1,125.00
                              information. Phone call with Investor. Searching




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                      through emails to find anything related to the key
                      words spreadsheet. Update forensic accounting
                      spreadsheet with Trust #2 bank statements.
                      Update Bateman plant asset list from photos.
10/13/2023    AW      Update investor spreadsheet. Searching through            7.45    $ 1,117.50
                      emails to find anything related to key word list.
                      Update forensic accounting spreadsheet with
                      Trust #2 statements. Update Bateman plant asset
                      list from photos.
10/16/2023    AW      Update investor spreadsheet. Search through               7.25    $ 1,087.50
                      emails to find anything related to key word list.
                      Meeting with Dennis Roossien/Ahuja & Clarke to
                      discuss forensic accounting information. Update
                      Bateman asset list. Phone call with Royce West to
                      discuss auction details for CETA vehicles.
10/17/2023    AW      Update investor spreadsheet. Update Bateman               8.25    $ 1,237.50
                      Asset list, finalize quantity of items. Meet with
                      CETA Researcher to help with document
                      organization. Update forensic accounting
                      spreadsheet with Trust #2 files.
10/18/2023    AW      Update investor spreadsheet. Update Bateman               8.05    $ 1,207.50
                      Asset list, finalize quantity of items. Follow-up
                      meeting with CETA Researcher to help with
                      document organization.
10/19/2023    AW      Update investor spreadsheet with new claim                7.75    $ 1,162.50
                      forms. Search through CETA emails to find
                      anything related to key words list, assets, etc.
                      Update forensic accounting spreadsheet. Meet
                      with Oak Cliff Motors to review vehicles.
10/23/2023    AW      Update investor spreadsheet with new claims.              6.00    $   900.00
                      Meet with CETA Researcher to discuss research
                      related to document organization. Update
                      forensic accounting spreadsheet with bank
                      records. Review Keels memorandum that Dennis
                      Roossien sent over.
10/24/2023    AW      Update investor spreadsheet with new claims.              6.75    $ 1,012.50
                      Add claimants from Billy Keels. Search through
                      CETA emails to find anything related to key word
                      list, assets, etc. Phone call with Tyler to discuss
                      Ocala, FL property. Phone call with appraisers for
                      Ocala, FL property. Update forensic accounting
                      spreadsheet with Trust #2 files.
10/25/2023    AW      Update investor spreadsheet with new claims.              8.50    $ 1,275.00
                      Spoke with appraisers to confirm November 10th.
                      Search through CETA emails to find anything
                      related to the key word list, assets, etc. Update




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                              forensic accounting document with Trust #2 bank
                              records. Meet with CETA Researcher on research
                              of document organization. Discuss potential new
                              entities.
10/27/2023         AW         Update CETA investor spreadsheet. Scan investor         8.25    $ 1,237.50
                              claims that came through the mail.
10/30/2023         AW         Update and enter all the new CETA investor claim        7.50    $ 1,125.00
                              forms. Send updated version to Dennis Roossien
                              for Quarterly Report.

                                           Total Time and Rate of $150 for Alek     144.60    $21,690.00
                                                                Wietrzykowski


DATE        STAFF DESCRIPTION                                                       HOURS AMOUNT
Accounting/Auditing
10/4/2023    RN     Transfer data from Roy Hill Trust #2 Acct 8568 pdf to             1.50    $    52.50
                    excel. for November 2019.
10/5/2023    RN     Transfer data from Roy Hill Trust #2 Acct 8568 pdf to excel       1.42    $    49.58
                    for February 2020 and to Mid - March 2020.
10/6/2023    RN     Transfer data from Roy Hill Trust #2 Acct 8568 pdf to excel       0.67    $    23.33
                    for Mid - March 2020 to end of March 2020.
10/9/2023    RN     Transfer data from Roy Hill Trust #2 Acct 8568 pdf to excel       1.33    $    46.67
                    for April 2020.
10/10/2023   RN     Transfer data from Roy Hill Trust #2 Acct 8568 pdf to excel       1.17    $    40.83
                    for July 2020.
10/11/2023   RN     Transfer data from Roy Hill Trust #2 Acct 8568 pdf to             0.75    $    26.25
                    excel.

                                  Total Time and Rate of $35 for Robert Novak         6.83        239.17


DATE        STAFF DESCRIPTION                                                       HOURS AMOUNT
Accounting/Auditing
10/2/2023     SB    Initiated and released wire transfers.                            0.25    $     8.75
10/3/2023     SB    Initiated wire transfer                                           0.25    $     8.75
10/10/2023    SB    Worked on pulling account reports from Bank for CETA.             0.50    $    17.50
10/10/2023    SB    Worked on the excel file of the summary of transactions           0.50    $    17.50
                    for all CETA Bank accounts.
10/11/2023    SB    Paid invoices via wire transfer from Bank.                        0.25    $     8.75
10/23/2023    SB    Pulled reports for CETA accounts at Bank.                         0.75    $    26.25
10/25/2023    SB    Worked on SharePoint site and excel file for CETA billing.        0.52    $    18.08
10/30/2023    SB    Paid invoices via wire transfer from Bank.                        0.25    $     8.75
10/30/2023    SB    Downloaded CETA activity into excel and edited it for             0.53    $    18.67
                    billing purposes.




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                              Total Time and Rate of $35 for Stephanie Bartlett       3.80         $133.00


DATE         STAFF    DESCRIPTION                                                   HOURS AMOUNT
Business Operations
10/9/2023 JJ          Traveled to Fairfield to move and sort material for Ceta.      10.00    $     350.00
10/11/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.       7.87    $     275.33
10/13/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.      11.33    $     396.67
10/16/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.       7.32    $     256.08
10/17/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.       7.13    $     249.67
10/18/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.       7.95    $     278.25
10/19/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.       8.80    $     308.00
10/20/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.       7.00    $     245.00
10/21/2023 JJ         Traveled to Fairfield to move and sort material for Ceta.      12.07    $     422.33

                                   Total Time and Rate of $35 for Jimmy James        79.47        $2,781.33




                                                                                             APPX.022
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                 For Professional Services through November 30, 2023 for CETA/FIC



Total Professional Fees                                                              $20,486.58
Albert Black                                                                           $2,612.50
Gwyneith Black                                                                          $825.00
Scott Sessions                                                                          $893.75
Georgie Cornelius                                                                      $2,520.00
Alek Wietrzykowski                                                                    $10,840.00
Robert Novak                                                                            $136.50
Stephanie Bartlett                                                                        $42.58
Jimmy James                                                                            $2,616.25


Total Fees - Storage, Expenses and Charges                                            $42,262.44
    - Storage                                                                          $7,633.70
    - Postage                                                                              $0.00
    - CETA Researcher                                                                  $4,003.74
    - Landscaping – Bateman and Streetman                                              $3,000.00
    - Security – Madison Central, Fairfield and Streetman locations                   $27,625.00


Total Invoice Balance Due                                                           $62,749.02




                                                                                       APPX.023
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November 30, 2023


Invoice submitted to:                                                                 Invoice No: 007
Mr. Tré Black, Receiver
RE: SEC vs. Clean Energy Technology Association/Freedom Impact Consulting – Roy Hill and Eric Shelly
1133 South Madison Avenue, Dallas, TX 75208
CASE NO. 6:23-CV-00321


       In reference to:           BILLING: November 2023



 DATE         STAFF       DESCRIPTION                                                    HOURS AMOUNT
 Business Operations
 11/1 –       AB          Manage storage of valuables retried from Shelly property;       9.50         $2,612.50
 11/30,                   meetings with Receiver and OTSL staff RE: market
 2023                     research of Ocala, Fl home in preparation for potential
                          listing. Research real estate sales in Ocala. Follow-up with
                          Receiver on valuation research

                                       Total Time and Rate of $275 for Albert Black       9.50         $2,612.50


 DATE         STAFF       DESCRIPTION                                                    HOURS AMOUNT
 Business Operations
 11/1-        GB          Assist with valuation research and analysis of coins and        3.00          $825.00
 11/30,                   other material; assist with title searches and follow-up
 2023                     discussions with OTSL re: status of vehicle disposition

                                   Total Time and Rate of $275 for Gwyneith Black         3.00          $825.00



 DATE           STAFF DESCRIPTION                                                        HOURS AMOUNT
 Legal Activities
 11/02- 16,     SS    Weekly meeting with Receiver and Support Services Staff             3.00     $     825.00
 2023
 11/10/2023 SS        Meet with T. Black and support staff re: review of square           0.25     $      68.75
                      footage currently being used for CETA-related equipment
                      and material at OTSL facility and adjust the same

                                     Total Time and Rate of $275 for Scott Sessions       0.25          $893.75




                                                                                                 APPX.024
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DATE         STAFF     DESCRIPTION                                                   HOURS AMOUNT
Business Operations
11/1 –       GC        Coordinated meetings for Receiver; worked with OTSL            12.00         $2,160.00
11/30,                 Support staff on meeting and staff workplans;
2023                   Coordinated trips to Fairfield for support staff;
                       coordinated lawn service with Raymond Perry; Received
                       updates and graves payment from Leslie Freeman
                       regarding the Fairfield Cemetery. Attended weekly
                       meetings with Receiver, legal and OTSL Support team
12/1/2023     GC       Prepared billing invoices for Receiver and Support              2.00          $360.00
                       Services team; worked with Stephanie Bartlett on
                       formatting for staff invoices

                              Total Time and Rate of $180 for Georgie Cornelius       30.00         $2,520.00




DATE         STAFF            DESCRIPTION                                            HOURS AMOUNT
Business Operations; Claims Administration
11/6/2023         AW          Update CETA investor list. Send and respond to           0.75     $     112.50
                              investors.
11/6/2023         AW          Update CETA investor spreadsheet. Confirm Nov            3.50     $     525.00
                              10 with appraisers for Ocala, FL property. Check
                              registration on CETA vehicles. Meet with CETA
                              Researcher to discuss CETA research. Discuss plan
                              to build Oil and Gas leases binder.
11/6/2023         AW          Update forensic accounting spreadsheet with              2.50     $     375.00
                              Trust #2 files for 2022 and 2023.
11/7/2023         AW          Check investor email inbox and update                    2.08     $     312.50
                              spreadsheet with new claims. Responding to
                              CETA investors. Search for a title company that
                              does nationwide title searches. Finish first part of
                              Trust #2 bank records for forensic accounting.
11/7/2023         AW          Start the second process of Trust #2 forensic            2.67     $     400.00
                              accounting. Look at checks and reconcile who
                              they were paid to in Trust #2 bank statements.
                              Meet with CETA Researcher to discuss findings
                              and research. Started binder for oil and gas
                              leases.
11/7/2023         AW          Compare today's findings with CETA Researcher,           0.50     $      75.00
                              explain new Fairfield Cemetery task.
11/7/2023         AW          Continue forensic accounting of Trust #2 bank            1.58     $     237.50
                              statements. Filling in "Payee" category of who
                              checks were paid to.




                                                                                              APPX.025
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11/8/2023     AW      Check CETA investor claims, update investor         1.37     $   205.00
                      spreadsheet. Look for equipment to move assets
                      from Mr. Thompon's property.
11/8/2023     AW      Search through CETA emails to find anything         1.25     $   187.50
                      related to the key word list. Focusing on oil and
                      gas leases.
11/8/2023     AW      Prepare for phone call with CETA investor, Kevin    0.50     $    75.00
                      Douglas. Phone call with Kevin Douglas to discuss
                      claim information on all GP's.
11/8/2023     AW      Forensic accounting of Trust #2 bank statements.    0.25     $    37.50
                      Compare checks to what was on bank statements.
11/8/2023     AW      Forensic accounting of Trust #2 bank statements.    2.67     $   400.00
                      Compare what are on the checks to the bank
                      statements. Add in names of who they paid on
                      checks.
11/9/2023     AW      Check emails from CETA investors, update            0.50     $    75.00
                      investor spreadsheet.
11/9/2023     AW      Review claim forms from Southern Energy GP and      1.08     $   162.50
                      Ortho GP. Update and reconcile investors in this
                      group on spreadsheet.
11/9/2023     AW      Forensic accounting of Trust #2 bank statements.    1.88     $   282.50
                      Reconcile checks with bank statements.
11/10/2023    AW      Update investor claims on the CETA investor         1.50     $   225.00
                      spreadsheet. Reconcile GP claims with totals
                      page. Search through CETA emails to find
                      anything related to the key word list.
11/10/2023    AW      Create work plan for CETA Researcher. Meet with     1.00     $   150.00
                      Georgie to confirm workplan.
11/10/2023    AW      Review CETA documents that CETA Researcher          0.75     $   112.50
                      has been working on.
11/10/2023    AW      Start and run CETA vehicles to ensure they still    0.33     $    50.00
                      run.
11/13/2023    AW      Update CETA investor spreadsheet.                   0.47     $    70.00
11/13/2023    AW      Gather CETA invoices for appraisers in Ocala, FL.   0.13     $    20.00
11/13/2023    AW      Meet with receiver to discuss work plan.            0.10     $    15.00
11/13/2023    AW      Changes to CETA doc org work plan.                  0.25     $    37.50
11/13/2023    AW      Build binder for CETA vehicle information.          0.75     $   112.50
                      Includes insurance, make and model, registration,
                      purchase information.
11/13/2023    AW      Meet with CETA Researcher to discuss today's        0.17     $    25.00
                      finding of CETA information.
11/13/2023    AW      Built a binder for CETA insurance.                  1.00     $   150.00
11/14/2023    AW      Search for bank statements at Ken's request.        4.75     $   712.50
                      Respond to CETA investor emails. Update investor
                      spreadsheet with new claim information. Meeting




                                                                                 APPX.026
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                      with receiver to discuss OCM. Rename bank
                      statements for Dennis Roossien.
11/14/2023    AW      Update investor spreadsheet. Respond to              1.00     $   150.00
                      investor emails.
11/14/2023    AW      Review CETA emails, keeping a note of anything       0.75     $   112.50
                      related to the key word list.
11/14/2023    AW      Forensic accounting of Trust #2 bank statements.     2.25     $   337.50
11/14/2023    AW      Show/discuss CETA lab equipment with Mr.             0.75     $   112.50
                      Veech.
11/14/2023    AW      Review OCM website for CETA vehicles.                0.25     $    37.50
11/14/2023    AW      Research OCM - potential sale of CETA vehicles.      1.28     $   192.50
                      Reconcile vehicle prices with KBB offers.
11/14/2023    AW      Forensic accounting of Trust #2 bank statements.     1.50     $   225.00
11/16/2023    AW      Review CETA emails, note anything related to key     0.50     $    75.00
                      word list.
11/16/2023    AW      Update investor spreadsheet. Reconcile claims        2.58     $   387.50
                      with partnership claims. Remove duplicates.
11/16/2023    AW      Forensic accounting of Trust #2 bank statements.     3.28     $   492.50
                      Review new quarterly report. Meeting with Mr.
                      Veech to discuss his visit to Fairfield, TX.
11/17/2023    AW      Update investor spreadsheet with new claims.         0.50     $    75.00
11/17/2023    AW      Review CETA entity feeder list. Reconcile with my    0.33     $    50.00
                      current list of entities.
11/17/2023    AW      Forensic accounting of Trust #2 bank statements.     0.83     $   125.00
                      Adding names to checks paid out.
11/27/2023    AW      Review CETA Ocala, FL appraisals. Review and         1.33     $   200.00
                      update CETA investor spreadsheet.
11/27/2023    AW      Meeting with team for CETA updates.                  0.22     $    32.50
11/27/2023    AW      Review CETA employee emails, specifically Robert     2.50     $   375.00
                      Buller & Charlie Moncla.
11/27/2023    AW      Forensic accounting of Trust #2 bank statements.     2.80     $   420.00
11/28/2023    AW      Update CETA investor spreadsheet. Correct any        3.97     $   595.00
                      investor amounts invested/received to match
                      claim form. Finalize forensic accounting
                      spreadsheet.
11/28/2023    AW      Coordinated the visit to Bateman and Tracy           2.20     $   330.00
                      Thompson's property for Mr. Veech. Update
                      investor spreadsheet with new claims. Review
                      CETA emails to find anything related to key word
                      list.
11/29/2023    AW      Analyze and review CETA investor claims. Upload      0.45     $    67.50
                      information to CETA investor spreadsheet.
11/29/2023    AW      Analyze CETA emails, specifically Roy Hill.          3.08     $   462.50
                      Document anything related to the key word list.




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11/29/2023        AW         Discuss CETA findings with CETA Researcher.              0.42     $     62.50
                             Remove CETA banker boxes from upstairs
                             inventory.
11/29/2023        AW         Construct email to receiver and Outside General          0.10     $     15.00
                             Counsel that related to potential feeder entities.
11/29/2023        AW         Review and analyze CETA documents. Organize              1.08     $    162.50
                             and build binders related to specific categories.
11/30/2023        AW         Review and analyze CETA investor claims. Upload          0.50     $     75.00
                             information into CETA investor spreadsheet.
11/30/2023        AW         Meeting with Bryon Veech to discuss trip to              1.58     $    237.50
                             Bateman and PWC Industries. Compile list of task
                             items that need to be completed.
11/30/2023        AW         Consult with CETA Researcher on document                 0.83     $    125.00
                             organization. Searching through documents to
                             find quarterly accounting sheets.
11/30/2023        AW         Meeting with team to discuss CETA updates.               0.42     $     62.50
                             Provide list of tasks that needed to be completed
                             at Bateman.
11/30/2023        AW         Analyze CETA emails. Note anything related to            0.33     $     50.00
                             key word list.
11/30/2023        AW         Phone call with United Rentals to discuss rentals        0.10     $     15.00
                             to remove absorption vessels.
11/30/2023        AW         Finalize Bateman task list with Bryon Veech.             0.25     $     37.50
                             Discuss next steps that need to be taken.

                               Total Time and Rate of $150 for Alek Wietrzykowski    72.27     $10,840.00


DATE        STAFF DESCRIPTION                                                       HOURS AMOUNT
Accounting/Auditing
11/2/2023    RN     Transfer data from the bank Roy Hill Trust #2 Acct 8568          1.58      $     55.42
                    pdf to excel for September 2022.
11/3/2023    RN     Transfer data from the bank Roy Hill Trust #2 Acct 8568          2.23      $     78.17
                    pdf to excel for October 2022 and November 2022.
11/13/2023   RN     Met with T Black to sign SEC V Roy Hill check number             0.08      $      2.92
                    1007 and to approve Freestone County property taxes for
                    117 E Commerce St. #103 and to approve the following
                    appraisal invoices for property at 10579 SW 11th Ter
                    Ocala FL - (1) John A Dawson $1,100.00 (2) McCalip &
                    Morales Appraisal Service Inc. $750.00 (3) Rhodes &
                    Rickolt, PA $1,500.00

                                 Total Time and Rate of $35 for Robert Novak         3.90          $136.50


DATE         STAFF DESCRIPTION                                                      HOURS AMOUNT



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Accounting/Auditing
11/2/2023     SB    Paid invoices via wire transfer from CETA bank account         0.22     $        7.58
11/15/2023    SB    Paid invoices via wire transfer from the CETA bank             0.25     $        8.75
                    account
11/27/2023    SB    Entered time into SharePoint site for external service         0.57     $      19.83
                    providers to SEC CETA project.
11/27/2023    SB    Initiated wire transfers to pay invoices from the CETA         0.18     $        6.42
                    accounts at bank.
11/2/2023     SB    Paid invoices via wire transfer from CETA bank account.        0.22     $        7.58

                             Total Time and Rate of $35 for Stephanie Bartlett     1.22           $42.58




DATE         STAFF DESCRIPTION                                                   HOURS AMOUNT
Business Operations
11/13/2023     JJ   Moved valuables around in warehouse to create more            10.00     $     350.00
                    room.
11/14/2023     JJ   Moved valuables around in warehouse to create more             8.25     $     288.75
                    room. I also prepped for my trip to Fairfield and
                    Streetman on Wednesday.
11/15/2023     JJ   I went to Fairfield and Streetman with our lawyer to meet      9.75     $     341.25
                    Roy Hill and his lawyer.
11/16/2023     JJ   Moved valuables around in warehouse to create more             8.25     $     288.75
                    room.
11/27/2023     JJ   Sorted through CETA material and product to make more          8.25     $     288.75
                    room.
11/28/2023     JJ   Sorted through CETA material and product to make more          9.00     $     315.00
                    room.
11/29/2023     JJ   I went to Fairfield to the Bateman location to assist Mr.     11.75     $     411.25
                    Veech. We made sure all valves on each machine were
                    closed, check the location for any potential freezing
                    hazards, counted every bag of coal, checked the tanks to
                    see what was in them, and checked all of the buildings.
11/30/2023     JJ   Sorted through files with Mr. Veech looking for shipping       9.50     $     332.50
                    receipts and records for the sale of CCU's from CETA to
                    customers.

                                  Total Time and Rate of $35 for Jimmy James      74.75         $2,616.25




                                                                                          APPX.029
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                 For Professional Services through December 31, 2023 for CETA/FIC



Total Professional Fees                                                              $16,867.75
Albert Black                                                                           $3,025.00
Gwyneith Black                                                                          $825.00
Scott Sessions                                                                         $1,443.75
Georgie Cornelius                                                                      $2,160.00
Alek Wietrzykowski                                                                     $7,947.50
Stephanie Bartlett                                                                        $40.25
Jimmy James                                                                            $1,426.25


Total Fees - Storage, Expenses and Charges                                            $46,142.94
    - Storage                                                                          $7,633.70
    - Postage                                                                              $0.00
    - CETA Researcher                                                                  $7,884.24
    - Landscaping – Bateman and Streetman                                              $3,000.00
    - Security – Madison Central, Fairfield and Streetman locations                   $27,625.00


Total Invoice Balance Due                                                           $63,010.69




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December 31, 2023


Invoice submitted to:                                                                 Invoice No: 008
Mr. Tré Black, Receiver
RE: SEC vs. Clean Energy Technology Association/Freedom Impact Consulting – Roy Hill and Eric Shelly
1133 South Madison Avenue, Dallas, TX 75208
CASE NO. 6:23-CV-00321

       In reference to:        BILLING: December 2023



DATE         STAFF    DESCRIPTION                                                   HOURS AMOUNT
Business Operations
12/1 –       AB       Discussions and follow-up with Receiver RE: Louisiana oil      11.00        $3,025.00
12/31,                and gas wells and issues related to Hill; meet with OTSL
2023                  staff RE: same. Review documents regarding Hill loan to
                      family members in Louisiana. Follow-up meetings with
                      Receiver and staff RE: Ocala residence. Manage storage of
                      Shelly valuables

                                   Total Time and Rate of $275 for Albert Black      11.00        $3,025.00


DATE         STAFF DESCRIPTION                                                      HOURS AMOUNT
Business Operations
12/1-        GB     Sort and organize values stored from Shelly property’             2.50         $825.00
12/31,              discuss with Receiver state of vehicle disposition
2023

                               Total Time and Rate of $275 for Gwyneith Black         3.00         $825.00


DATE           STAFF DESCRIPTION                                                    HOURS AMOUNT
Legal Activities
12/4/2023 SS         Meeting with Receiver re: Allen Bros. oil and gas                0.25    $      68.75
                     properties in Louisiana and E. Texas and operation of the
                     wells
12/7/2023 SS         Meeting with Receiver re: case status and pending work           1.00    $     275.00
                     to be done at Streetman and Bateman sites
               SS    Weekly meeting with Receiver and Support Services Staff          3.00         $825.00
12/8/2023 SS         Telephone conference with Bryan Veech and Kedrick                1.00         $275.00
                     Cockrell re: clean-up work for OTSL to perform at the
                     Streetman and Bateman sites

                                 Total Time and Rate of $275 for Scott Sessions       2.25        $1,443.75



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DATE         STAFF     DESCRIPTION                                                    HOURS AMOUNT
Business Operations
12/1 –       GC        Coordinated meetings for Receiver; coordinated trips to         10.00     $1,800.00
12/31,                 Fairfield for support staff; coordinated lawn service with
2023                   Raymond Perry; Received updates from Leslie Freeman
                       regarding the Fairfield Cemetery. Attended weekly
                       meetings with Receiver, legal and OTSL Support team
01/3/2024     GC       Prepared billing invoices for Receiver and Support               2.00        $360.00
                       Services team; worked with Stephanie Bartlett on
                       formatting for staff reports to Receiver

                              Total Time and Rate of $180 for Georgie Cornelius        12.00     $2,160.00




DATE         STAFF DESCRIPTION                                                       HOURS AMOUNT
Business Operations; Claims Administration
12/1/2023      AW      Prepare plan for Bateman plant. Assign tasks to support          0.25    $     37.50
                       team.
12/1/2023      AW      Analyze and review investor claims. Upload investor              0.25    $     37.50
                       claims into CETA investor spreadsheet.
12/1/2023      AW      Create a memorandum for the receiver. Explains CETA              1.17    $    175.00
                       quarterly accounting summary for false reporting on
                       distillation units.
12/1/2023      AW      Analyze and review CETA employee emails, specifically            0.67    $    100.00
                       Roy Hill. Looking for any assets or words related to the
                       key word list.
12/1/2023      AW      Analyze and review CETA employee emails, specifically            1.07    $    160.00
                       Roy Hill. Looking for anything related to the key word
                       list and assets associated with CETA/Roy Hill.
12/4/2023      AW      Analyze and review CETA investor claims. Upload new              0.43    $     65.00
                       claims to CETA investor spreadsheet. Create a new
                       column to assign investors a claim number.
12/4/2023      AW      Analyze and review CETA emails, specifically Roy Hill.           0.92    $    137.50
                       Looking for anything related to the key word list as well
                       as assets belonging to CETA/Roy Hill.
12/4/2023      AW      Phone call with receiver, outside general counsel, and           0.22    $     32.50
                       support staff to discuss updates on CETA.
12/4/2023      AW      Analyze and review CETA employee emails, specifically            1.72    $    257.50
                       Roy Hill. Trying to find assets or anything related to the
                       key word list.




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12/4/2023    AW   Respond to email from Outside General Counsel on                0.25    $    37.50
                  CETA questions.
12/4/2023    AW   Create master contact list for everyone involved in             0.83    $   125.00
                  CETA, including support staff, lawyers, consultants, etc.
12/5/2023    AW   Analyze and review CETA investor claims. Update CETA            0.48    $    72.50
                  investor spreadsheet with new claims information.
12/5/2023    AW   Create project plan for CETA Bateman and Streetman              2.72    $   407.50
                  plant. Create tasks based off of Mr. Veech's report.
                  Consult with Mr. Veech to determine necessary tasks
                  to be outsourced to trained individuals.
12/5/2023    AW   Review CETA Researcher's monthly report on CETA                 0.50    $    75.00
                  research.
12/6/2023    AW   Review and analyze CETA investor claims. Update CETA            0.42    $    62.50
                  investor claim spreadsheet. Assign claim number to
                  incoming claim forms.
12/6/2023    AW   Review CETA emails, specifically Roy Hill. Looking for          2.72    $   407.50
                  anything related to the key word list, noting any assets
                  found.
12/6/2023    AW   Update CETA quarterly accounting memorandum with                2.00    $   300.00
                  new information. Review winterizing CETA information
                  on Bateman and Streetman plant.
12/7/2023    AW   Review and analyze CETA investor claims. Phone call             0.62    $    92.50
                  and respond to emails from investors to direct them to
                  the receiver's website for updates.
12/7/2023    AW   Analyze CETA employee emails, specifically Roy Hill.            2.33    $   350.00
                  Finding anything related to assets including property,
                  vehicles, etc.
12/7/2023    AW   Update CETA Bateman and Streetman project plan.                 0.17    $    25.00
12/7/2023    AW   Scan CETA documents related to quarterly accounting             0.55    $    82.50
                  summaries. Update photos on quarterly accounting
                  memorandum.
12/8/2023    AW   Review and analyze CETA investor claims. Update                 0.42    $    62.50
                  spreadsheet with new information.
12/11/2023   AW   Review and analyze CETA investor claims. Update                 0.48    $    72.50
                  spreadsheet with new investor claims.
12/11/2023   AW   Trip to Bateman and Streetman properties. Made entry            4.50    $   675.00
                  in mobile home lab, photos of lab, covered
                  compressors, and walked around properties to ensure
                  all buildings were secure.
12/11/2023   AW   Create and update CETA logbook for trips to different           0.50    $    75.00
                  properties.
12/11/2023   AW   Review CETA employee emails, specifically Roy Hill.             0.78    $   117.50
                  Looking for anything related to assets and the key word
                  list.
12/11/2023   AW   Respond to CETA investor by email with answers to               0.03    $     5.00
                  their question.




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12/12/2023   AW   Review CETA investor claims and update investor               0.75    $   112.50
                  spreadsheet with correct claim information.
12/12/2023   AW   Analyze CETA employee emails, specifically Roy Hill.          1.02    $   152.50
                  Looking for anything related to assets or the key word
                  list.
12/12/2023   AW   Review CETA bank account analysis from A&C.                   0.38    $    57.50
12/13/2023   AW   Analyze CETA employee emails, specifically Roy Hill and       0.92    $   137.50
                  Brandi Rhodes. Looking for anything related to assets
                  and the key word list.
12/13/2023   AW   Analyze CETA employee emails, specifically Roy Hill and       0.58    $    87.50
                  Brandi Rhodes. Looking for anything related to assets
                  and the key word list.
12/13/2023   AW   Search on the Secretary of State website for CETA             0.22    $    32.50
                  related entities.
12/13/2023   AW   Update CETA investor spreadsheet with new Keels               1.27    $   190.00
                  information. Make notes on each investor who
                  received an interim distribution.
12/14/2023   AW   Review new CETA investor claims. Add new claims to            0.57    $    85.00
                  spreadsheet with supporting information. Create file
                  for new investors.
12/14/2023   AW   Corrected Keels investors information, specifically net       0.47    $    70.00
                  loss column.
12/14/2023   AW   Meet with CETA Researcher to discuss the findings on          0.25    $    37.50
                  CETA. Review documents.
12/14/2023   AW   Analyze CETA employee emails. Looking for anything            2.02    $   302.50
                  related to oil and gas leases. Printed out specific
                  documents related to searches.
12/15/2023   AW   Review new CETA investor claims. Update the                   0.23    $    35.00
                  spreadsheet with their information.
12/15/2023   AW   Analyze CETA employee emails. Looking for anything            1.90    $   285.00
                  related to "New Mexico" and anything else related to
                  the key word list.
12/18/2023   AW   Review new CETA investor claims. File those claims            1.33    $   200.00
                  accordingly. Updated CETA investor spreadsheet with
                  new claims information. Updated vendor list.
12/18/2023   AW   Review CETA employee emails, specifically Roy Hill.           2.02    $   302.50
                  Looking for any documents related to Oil and Gas
                  leases.
12/18/2023   AW   Review Bryon Veech PWC site visit report.                     0.23    $    35.00
12/18/2023   AW   Research all Roy Hill related entities on the Railroad        0.38    $    57.50
                  Commission website.
12/19/2023   AW   Review CETA investor claim forms. Update the CETA             0.30    $    45.00
                  investor spreadsheet with new claim information.
12/19/2023   AW   Search through CETA employee emails, looking for              2.03    $   305.00
                  anything related to the key word list or potential
                  assets.




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12/19/2023     AW      Further research on CETA entities on the Railroad               0.83    $     125.00
                       Commission website.
12/19/2023     AW      Review all CETA/Roy Hill related documents found on             1.58    $     237.50
                       the Railroad Commission website.
12/19/2023     AW      Organization CETA documents into respective binders.            0.43    $      65.00
12/20/2023     AW      Review CETA investor claim forms. Update investor               0.50    $      75.00
                       spreadsheet with new claim information.
12/20/2023     AW      Search through CETA employee emails. Looking                    0.93    $     140.00
                       specifically for "Bistone" email exchanges.
12/20/2023     AW      Review "Bistone" emails that were found. Continue               1.50    $     225.00
                       searching through Roy Hill inbox for anything related to
                       key word list.
12/20/2023     AW      Review Hill family ownership document and map of                0.23    $      35.00
                       Fairfield Cemetery.
12/20/2023     AW      Review CETA investor claim and update spreadsheet               0.08    $      12.50
                       with information.
12/21/2023     AW      Review new CETA investor claim. Add claim to                    0.10    $      15.00
                       spreadsheet.
12/21/2023     AW      Search through CETA employee emails, specifically Roy           2.08    $     312.50
                       Hill. Noting anything that is found on the key word list
                       or potential assets.
12/21/2023     AW      Create CETA Phase 1 Project Plan for the first week of          0.85    $     127.50
                       January 2024.

                              Total Time and Rate of $150 for Alek Wietrzykowski      52.98        $7,947.50


DATE        STAFF DESCRIPTION                                                        HOURS AMOUNT
Accounting/Auditing
12/13/2023    SB    Paid invoices via wire transfer from CETA Bank.                    0.15    $       5.25
                    Worked on getting access to the CETA Quickbooks data
12/14/2023    SB    and the best way to update with current accounting data.           1.00    $      35.00

                             Total Time and Rate of $35 for Stephanie Bartlett         1.15          $40.25


DATE         STAFF DESCRIPTION                                                       HOURS AMOUNT
Business Operations
12/1/2023      JJ   Sorted through files for CETA.                                     7.25    $     253.75
12/11/2023     JJ   I went to Fairfield and Streetman location with Alek to            8.50    $     297.50
                    check on the hazardous materials, open the trailer, and
                    covered valuables with tarps.
12/12/2023     JJ   I moved valuables around to make more room to store                9.25    $     323.75
                    more valuables.
12/13/2023     JJ   I sorted through and put away files pertaining to the CETA         9.50    $     332.50
                    account.




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12/14/2023   JJ   I sorted through files for the CETA project looking for       6.25    $   218.75
                  invoices.

                               Total Time and Rate of $35 for Jimmy James      40.75     $1,426.25




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Albert C. Black, III, Receiver
1133 S. Madison Avenue
Dallas, TX 75208
                                                         Invoice Date:            November 13, 2023
                                                         Invoice Number:                  10514612
                                                         Matter Number:               004856.00022


For Professional Services through October 31, 2023

Client:        Securities and Exchange Commission
Matter:        Roy Hill


               Total Fees                                                             $        10,368.18

               Total Costs                                                            $              2.00

               Total Amount Due This Invoice                                          $        10,370.18

               Outstanding Invoices                                                   $        54,353.28

               Grand Total Due                                                        $        64,723.46




ACH and Wire Instructions:                           Remittance Address:
BOKF, NA (FFC Bank of Texas, NA)                     Accounting
ABA Routing Number: 111014325                        Munsch Hardt Kopf & Harr, P.C.
Account Number: 2880510762                           500 N. Akard St., Suite 4000
Swift Code: BAOKUS44                                 Dallas, TX 75201-6605

Credit Card or eCheck: https://www.munsch.com/payment

Client or Matter Number and Invoice Number Required.

Federal ID Number: XX-XXXXXXX

For billing inquiries, please contact accounting@munsch.com or (214) 740-5198.



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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                       2 of 5
Invoice Number: 10514612                                                              November 13, 2023
Matter Description: Roy Hill

Fee Detail

Date         Initials Description                                                    Hours    Amount
10/02/23     DLR     Communications with counsel for Tampa Bay Growth                 2.20    1,133.00
                     Fund; update task list; team call to coordinate efforts and
                     provide mutual updates; follow-up on Wells Fargo
                     accounts; coordinate Veech call; direct provision of
                     information for account transfer to Wells Fargo counsel;
                     review and evaluate key documents identified by receiver's
                     team; review Hill counsel correspondence and answers to
                     certain inquiries; follow-up on Southlake Village; respond to
                     inquiry from Seattle Gas counsel.
10/02/23     MGH     Phone conference with D. Roossien and the rest of the            0.50      153.00
                     receivership team discussing the latest updates and
                     developments for this matter.
10/04/23     DLR     Assemble materials for expert; initial call with same; call      2.70    1,390.50
                     with client regarding next steps; follow-up communications
                     with expert; call with TBGF counsel and clients; telephone
                     conference with Wells Fargo counsel; telephone
                     conference with Hill counsel.
10/09/23     DLR     Review and consider Mr. Veech's project outline;                 0.50      257.50
                     acknowledge same; recommend course of action to client
                     regarding same; receive response; advise Mr. Veech
                     regarding authorization; assist with logistics of initial
                     document inspection.
10/10/23     DLR     Work on accommodating Hill counsel inspection request;           0.50      257.50
                     review inquiry from Shelly regarding coordination of
                     property management; respond to inquiry from counsel for
                     investor.
10/11/23     DLR     Assist with investor inquiry; confer with Receiver regarding     0.30      154.50
                     need for additional forensic assistance; receive direction
                     from Receiver on vehicle sale procedures.
10/12/23     DLR     Communications relative to Hill counsel site inspection;         1.60      824.00
                     meeting with forensic accountant regarding assistance with
                     summarizing bank records efficiently; check motion to
                     retain; correspondence to forensic accountant regarding
                     next steps to provide necessary materials and background.
10/13/23     DLR     Communications with Keels' counsel; coordinate further           0.30      154.50
                     meeting with forensic team; confer with same regarding
                     billing procedures.
10/16/23     DLR     Update task list; team coordination call; communications         4.00    2,060.00
                     with Receiver's team regarding materials and information
                     needed for vehicles sale procedures motion; address
                     investor inquiries; review work product of Mr.
                     Wietrzykowski; create diagrams and summaries from
                     same; meeting at New Horizons office with Ms. Bremer et
                     al. regarding further summaries of bank records, claims
                     process protocol, and further case background; forward
                     additional materials to same.



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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                   3 of 5
Invoice Number: 10514612                                                          November 13, 2023
Matter Description: Roy Hill

Date       Initials Description                                                  Hours     Amount
10/16/23   MGH     Phone conference with D. Roossien and the rest of the          0.30       91.80
                   receivership team discussing the latest updates and
                   developments for this matter.
10/18/23   DLR     Telephone conference with client regarding status and          0.10       51.50
                   proposed course of action.
10/19/23   DLR     Correspondence to Shelly counsel regarding coordinating        1.60      824.00
                   next steps; review follow-up correspondence from TBGF
                   counsel; review and analyze updated Keels accounting;
                   preparation of Keels investor claim file memorandum;
                   telephone conference with Mr. Shelly and his counsel
                   regarding implementation of Shelly order and handling of
                   various investments.
10/20/23   DLR     Review reminders and update task list; revise Keels R&R        1.10      566.50
                   in light of revised accounting and redline from Keels
                   counsel; continue preparation of Keels claim file
                   memorandum.
10/23/23   TJM     Review/analyze email received regarding subpoena sent to       0.30       72.68
                   Univ est National Bank, follow up with M Huffman
                   regarding same, email to vendor advising of status and
                   losing the open request.
10/23/23   DLR     Continue preparation of Keels claim file memorandum;           1.20      618.00
                   review and update task list; attend team call; direct Mr.
                   Huffman regarding Veech support; correspondence to
                   counsel regarding Keels report and recommendation;
                   telephone conference with Shelly counsel regarding same.
10/23/23   MGH     Phone conference with D. Roossien, T. Black, and the rest      0.70      214.20
                   of the receivership team discussing the latest updates and
                   developments for this matter (0.3); and initial receipt,
                   review, and legal analysis of pertinent bank records and
                   loan documents from Univest National Bank (0.4).
10/25/23   DLR     Review correspondence from SEC regarding third claims          0.40      206.00
                   report and recommendation; follow-up on ATM investment
                   payments from Zook.
10/27/23   DLR     Coordinate logistics of Veech document inspection.             0.20      103.00
10/30/23   DLR     Provide background to expert and assist with document          2.40     1,236.00
                   review logistics; correspondence relative to Keels R&R with
                   his counsel and individual defendants' counsel.

                                                            Total                20.90   10,368.18




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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                   4 of 5
Invoice Number: 10514612                                                          November 13, 2023
Matter Description: Roy Hill

Timekeeper Summary

Timekeeper Title        Name                      Initials      Rate           Hours          Amount
Shareholder             Dennis Roossien             DLR       515.00             19.10        9,836.50
Associate               Mark G. Huffman             MGH       306.00              1.50         459.00
Paralegal               Tracey J. Murrell            TJM      242.25              0.30          72.68

                                                               Total             20.90     $10,368.18


Cost Detail

Date                Description                                                               Amount
10/04/23            U.S. Courts: PACER - Pacer Research – Charges                                 1.40
                    incurred during the period 07/01/23 – 09/30/23
10/04/23            U.S. Courts: PACER - Pacer Research – Charges                                 0.60
                    incurred during the period 07/01/23 – 09/30/23

                                                                       Total                    $2.00


Cost Summary

Description                                                                                   Amount
Pacer Research                                                                                    2.00

                                                             Total                              $2.00


Outstanding Invoices

Invoice Date       Invoice Number           Invoice Total            Payments            Total Balance
08/04/23           10505735                    12,847.60                  0.00               12,847.60
09/07/23           10508212                    25,695.70                  0.00               25,695.70
10/10/23           10511240                    15,809.98                  0.00               15,809.98

                                                             Total                         $54,353.28




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Albert C. Black, III, Receiver
1133 S. Madison Avenue
Dallas, TX 75208
                                                         Invoice Date:            November 13, 2023
                                                         Invoice Number:                  10514612
                                                         Matter Number:               004856.00022


For Professional Services through October 31, 2023

Client:        Securities and Exchange Commission
Matter:        Roy Hill


               Total Fees                                                             $        10,368.18

               Total Costs                                                            $              2.00

               Total Amount Due This Invoice                                          $        10,370.18

               Outstanding Invoices                                                   $        54,353.28

               Grand Total Due                                                        $        64,723.46




ACH and Wire Instructions:                           Remittance Address:
BOKF, NA (FFC Bank of Texas, NA)                     Accounting
ABA Routing Number: 111014325                        Munsch Hardt Kopf & Harr, P.C.
Account Number: 2880510762                           500 N. Akard St., Suite 4000
Swift Code: BAOKUS44                                 Dallas, TX 75201-6605

Credit Card or eCheck: https://www.munsch.com/payment

Client or Matter Number and Invoice Number Required.

Federal ID Number: XX-XXXXXXX

For billing inquiries, please contact accounting@munsch.com or (214) 740-5198.



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Albert C. Black, III, Receiver
1133 S. Madison Avenue
Dallas, TX 75208
                                                        Invoice Date:                December 8, 2023
                                                        Invoice Number:                     10516768
                                                        Matter Number:                  004856.00022


For Professional Services through November 30, 2023

Client:        Securities and Exchange Commission
Matter:        Roy Hill


               Total Fees                                                            $        12,288.20

               Total Costs                                                           $              120.02

               Total Amount Due This Invoice                                         $        12,408.22

               Outstanding Invoices                                                  $        64,723.46

               Grand Total Due                                                       $        77,131.68




ACH and Wire Instructions:                          Remittance Address:
BOKF, NA (FFC Bank of Texas, NA)                    Accounting
ABA Routing Number: 111014325                       Munsch Hardt Kopf & Harr, P.C.
Account Number: 2880510762                          500 N. Akard St., Suite 4000
Swift Code: BAOKUS44                                Dallas, TX 75201-6605

Credit Card or eCheck: https://www.munsch.com/payment

Client or Matter Number and Invoice Number Required.

Federal ID Number: XX-XXXXXXX

For billing inquiries, please contact accounting@munsch.com or (214) 740-5198.



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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                      2 of 5
Invoice Number: 10516768                                                              December 8, 2023
Matter Description: Roy Hill

Fee Detail

Date         Initials Description                                                    Hours    Amount
11/02/23     DLR     Provide direction to Ms. Bremer regarding scope of work;         0.30     154.50
                     receive updates from Mr. Veech and provide additional
                     background to same.
11/08/23     MGH     Phone conference with B. Veech discussing his various            0.30      91.80
                     questions in preparation for his upcoming visit to the CETA
                     properties (Streetman and Fairfield).
11/09/23     DLR     Provide direction regarding handling of site inspection and      0.30     154.50
                     Hill interview by expert; telephone conference with client
                     regarding same.
11/10/23     DLR     Telephone conference with client regarding Shelly                0.30     154.50
                     coordination; continue to coordinate Veech inspection and
                     interview; respond to inquiries from authorities.
11/13/23     MGH     Preparation of the Suggestion of Receivership for the            0.20      61.20
                     recent small claims lawsuit against CETA and Roy Hill in
                     Nacogdoches County, Texas.
11/13/23     DLR     Correspondence regarding Mr. Veech; attend team status           4.60    2,369.00
                     call; digest forensic work and formulate demand on Trust
                     #2; analyze Hill requests and direct Mr. Huffman regarding
                     responses to same; review Zook materials; assemble
                     material for vehicles motion; inquiry to client regarding
                     certain points relative to same; follow-up on Shelly overdue
                     accounting; obtain response relative to Keels motion;
                     review reminders and update task list; assemble materials
                     for quarterly report; respond to accumulated inquiries from
                     client; provide direction regarding analysis of Trust #3
                     account.
11/14/23     DLR     Communications with client; communications with Keels            3.00    1,545.00
                     counsel; revise report and recommendation to reflect lack
                     of opposition; direct filing of same; pull and provide
                     additional documents to team; status call with SEC;
                     telephone conference with Shelly counsel; correspondence
                     to Wells Fargo counsel; assist preparation for Veech onsite
                     inspection and Hill interview; provide background and
                     direct Mr. Huffman regarding negotiations with Hill counsel
                     on various topics; continue to review reminders and update
                     task list.
11/15/23     MGH     Attended expert site inspections at CETA's Fairfield and         7.60    2,325.60
                     Streetman facilities with B. Veech, J. James, R. Hill, and R.
                     Rainey on November 15, 2023.
11/15/23     DLR     Preparation of second quarterly report; receive update           4.50    2,317.50
                     regarding expert inspection and Hill interview; receive order
                     on Keels R&R; update counsel for same.




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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                    3 of 5
Invoice Number: 10516768                                                            December 8, 2023
Matter Description: Roy Hill

Date        Initials Description                                                  Hours     Amount
11/16/23    MGH     Final revisions and review of the Receiver's Quarterly         1.30      397.80
                    Report for the Third Quarter of 2023; conferred with R.
                    Rainey regarding R. Hill's recent requests to open a bank
                    account, establish a mailing address, and obtain living
                    expenses; pursued legal issues related to PWC Industries,
                    Inc.'s outstanding claim; and phone conference with B.
                    Donnell discussing his questions and concerns regarding
                    the same.
11/16/23    DLR     Confer with client regarding status and proposed course of     3.70     1,905.50
                    action; incorporate comments to draft report; assess Hill
                    next steps and direct Mr. Huffman regarding same; review
                    response from Allen Brothers counsel and consideration of
                    appropriate steps to be taken to address matter; provide
                    direction regarding revisions to claim inventory;
                    recommend course of action relative to vendor claims;
                    incorporate revised schedules into report; advise client
                    regarding finalized report and intent to file same;
                    preparation of fee application; telephone conference with
                    SEC regarding status and proposed course of action;
                    assemble and provide information to assist bank records
                    summarization.
11/17/23    MGH     Phone conference with B. Donnell further discussing PWC        0.20       61.20
                    Industries, Inc.'s outstanding claim and the upcoming
                    inspection in Corpus Christi, Texas.
11/17/23    DLR     Communications with Keels counsel; provide additional          1.10      566.50
                    background to forensic accountants and coordinate with
                    Receiver's staff regarding same; call with counsel for
                    investor group.
11/27/23    MGH     Phone conference with the receivership team discussing         0.40      122.40
                    the latest updates and developments for this matter; and
                    correspondence with B. Donnell further discussing the
                    upcoming inspection at PWC Industries, Inc.'s facility in
                    Corpus Christi, Texas.
11/28/23    MGH     Correspondence with B. Veech discussing the outcome of         0.20       61.20
                    today's inspection at PWC Industries, LLC's facility in
                    Corpus Christi, Texas.

                                                               Total              28.00    12,288.20


Timekeeper Summary

Timekeeper Title         Name                       Initials      Rate           Hours      Amount
Shareholder              Dennis Roossien               DLR       515.00          17.80      9,167.00
Associate                Mark G. Huffman              MGH        306.00          10.20      3,121.20

                                                                  Total          28.00    $12,288.20




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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                4 of 5
Invoice Number: 10516768                                                        December 8, 2023
Matter Description: Roy Hill

Cost Detail

Date                  Description                                                        Amount
11/15/23              Mark G. Huffman - Mileage: M Huffman; Roundtrip                     119.15
                      Mileage to attend expert site inspections at CETA's
                      Fairfield and Streetman facilities with B. Veech, J.
                      James, R. Hill, and R. Rainey on November 15, 2023.;
                      181.91 miles @ $0.655
11/14/23              Postage                                                               0.87

                                                                      Total              $120.02


Cost Summary

Description                                                                              Amount
Postage                                                                                     0.87
Parking/Cab/Mileage                                                                       119.15

                                                             Total                       $120.02


Outstanding Invoices

Invoice Date       Invoice Number            Invoice Total           Payments     Total Balance
08/04/23           10505735                     12,847.60                0.00         12,847.60
09/07/23           10508212                     25,695.70                0.00         25,695.70
10/10/23           10511240                     15,809.98                0.00         15,809.98
11/13/23           10514612                     10,370.18                0.00         10,370.18

                                                             Total                   $64,723.46




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Albert C. Black, III, Receiver
1133 S. Madison Avenue
Dallas, TX 75208
                                                        Invoice Date:                December 8, 2023
                                                        Invoice Number:                     10516768
                                                        Matter Number:                  004856.00022


For Professional Services through November 30, 2023

Client:        Securities and Exchange Commission
Matter:        Roy Hill


               Total Fees                                                            $        12,288.20

               Total Costs                                                           $              120.02

               Total Amount Due This Invoice                                         $        12,408.22

               Outstanding Invoices                                                  $        64,723.46

               Grand Total Due                                                       $        77,131.68




ACH and Wire Instructions:                          Remittance Address:
BOKF, NA (FFC Bank of Texas, NA)                    Accounting
ABA Routing Number: 111014325                       Munsch Hardt Kopf & Harr, P.C.
Account Number: 2880510762                          500 N. Akard St., Suite 4000
Swift Code: BAOKUS44                                Dallas, TX 75201-6605

Credit Card or eCheck: https://www.munsch.com/payment

Client or Matter Number and Invoice Number Required.

Federal ID Number: XX-XXXXXXX

For billing inquiries, please contact accounting@munsch.com or (214) 740-5198.



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Albert C. Black, III, Receiver
1133 S. Madison Avenue
Dallas, TX 75208
                                                        Invoice Date:                    January 11, 2024
                                                        Invoice Number:                        10519243
                                                        Matter Number:                     004856.00022


For Professional Services through December 31, 2023

Client:        Securities and Exchange Commission
Matter:        Roy Hill


               Total Fees                                                            $          6,452.40

               Total Amount Due This Invoice                                         $          6,452.40

               Outstanding Invoices                                                  $         77,131.68

               Grand Total Due                                                       $         83,584.08




ACH and Wire Instructions:                          Remittance Address:
BOKF, NA (FFC Bank of Texas, NA)                    Accounting
ABA Routing Number: 111014325                       Munsch Hardt Kopf & Harr, P.C.
Account Number: 2880510762                          500 N. Akard St., Suite 4000
Swift Code: BAOKUS44                                Dallas, TX 75201-6605

Credit Card or eCheck: https://www.munsch.com/payment

Client or Matter Number and Invoice Number Required.

Federal ID Number: XX-XXXXXXX

For billing inquiries, please contact accounting@munsch.com or (214) 740-5198.



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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                      2 of 4
Invoice Number: 10519243                                                              January 11, 2024
Matter Description: Roy Hill

Fee Detail

Date         Initials Description                                                   Hours      Amount
12/04/23     DLR     Receive update from Mr. Huffman regarding Veech                 1.70       875.50
                     assessment; attend client status call; assist with investor
                     inquiry responses; assess Ortho Syndicate claim and
                     correspondence to its counsel regarding same.
12/04/23     MGH     Phone conference with D. Roossien and the rest of the           0.50       153.00
                     receivership team discussing the latest updates and
                     developments for this matter; and correspondence with B.
                     Veech further discussing his recent inspections in Fairfield
                     and Corpus Christi.
12/06/23     DLR     Follow-up correspondence to Allen Brothers counsel;             2.20      1,133.00
                     review and consider response; advise forensic accountant
                     regarding role of Freestone Energy; confer with Mr. Veech
                     regarding interim findings; update client regarding same
                     and recommend course of action; update Hill counsel
                     regarding same and request position statement on
                     liquidation of equipment; check on potential vendor claim;
                     complete and circulate vehicles motion; respond to investor
                     counsel inquiry; review Ocala appraisals; correspondence
                     to Shelly counsel regarding same; review and respond to
                     Shelly counsel proposal regarding Ocala property; review
                     various correspondence and update task list; review and
                     forward investor inquiries to Alek for handling.
12/06/23     MGH     Phone conference with B. Veech and D. Roossien                  0.30        91.80
                     discussing pertinent questions regarding B. Veech's
                     upcoming report on his recent inspections and property
                     evaluations.
12/08/23     DLR     Telephone conference with Shelly counsel; conference with       1.30       669.50
                     same and Shelly regarding open issues; update task list.
12/11/23     MGH     Conferred with D. Roossien regarding the latest updates         0.50       153.00
                     and developments in this matter; and phone conference
                     with F. Elyasi discussing questions and concerns regarding
                     R. Hill's partial vehicle purchase at his dealership.
12/11/23     DLR     Update task list; status meeting with Mr. Huffman; review       0.40       206.00
                     and respond to inquiry from counsel for Mr. Hill regarding
                     certain matters of administration.
12/12/23     DLR     Various additional email exchanges with counsel for Mr.         0.10        51.50
                     Hill and counsel for SEC regarding certain matters of
                     administration.
12/13/23     DLR     Follow-up correspondence to Hill counsel regarding              3.60      1,854.00
                     vehicles motion; review and respond to inquiry from Keels
                     counsel; review reminders; correspondence to Hill counsel
                     regarding CETA general liquidation; review and consider
                     response; review reminders; correspondence to Receiver's
                     team regarding proper handling of Keels claims and notes
                     regarding interim distribution to Keels group; review and
                     direct proper handling of investor inquiry; begin review of
                     A&J forensic analysis; link account analysis to determine
                     potential claw-backs.

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Munsch Hardt Kopf & Harr, P.C.
Matter Number: 004856.00022                                                                        3 of 4
Invoice Number: 10519243                                                                January 11, 2024
Matter Description: Roy Hill

Date        Initials Description                                                     Hours        Amount
12/14/23    DLR     Work with Receiver team on Ocala listing; call with A&J            0.50        257.50
                    regarding need for focus on certain potential net winners
                    for limitations purposes and formatting of data for claims
                    review process; correspondence to Hill counsel regarding
                    recovery of CETA vehicle purchase deposit.
12/14/23    MGH     Additional correspondence with F. Elyasi discussing                0.20         61.20
                    questions and concerns regarding R. Hill's partial vehicle
                    purchase at his dealership.
12/15/23    DLR     Telephone conference with counsel for Mr. Hill regarding           0.70        360.50
                    open issues.
12/19/23    MGH     Additional correspondence with F. Elyasi discussing                0.20         61.20
                    questions and concerns regarding R. Hill's vehicle deposit
                    with his dealership.
12/20/23    MGH     Phone conference with A. Wietrzykowski discussing                  0.20         61.20
                    pertinent issues related to recent investor claims for
                    SYN19.
12/20/23    DLR     Gather additional information in order to assist in charting       0.80        412.00
                    next steps for claims review; confer with client regarding
                    status and proposed course of action; handle investor
                    counsel inquiry.
12/21/23    DLR     Telephone conference with Hill counsel regarding various           0.10         51.50
                    issues.

                                                                Total                 13.30       6,452.40


Timekeeper Summary

Timekeeper Title         Name                        Initials       Rate           Hours          Amount
Shareholder              Dennis Roossien                DLR       515.00             11.40        5,871.00
Associate                Mark G. Huffman               MGH        306.00              1.90         581.40

                                                                    Total            13.30       $6,452.40


Outstanding Invoices

Invoice Date        Invoice Number            Invoice Total              Payments            Total Balance
08/04/23            10505735                      12,847.60                   0.00               12,847.60
09/07/23            10508212                      25,695.70                   0.00               25,695.70
10/10/23            10511240                      15,809.98                   0.00               15,809.98
11/13/23            10514612                      10,370.18                   0.00               10,370.18
12/08/23            10516768                      12,408.22                   0.00               12,408.22

                                                                 Total                         $77,131.68




                                                                                        APPX.049
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Albert C. Black, III, Receiver
1133 S. Madison Avenue
Dallas, TX 75208
                                                        Invoice Date:                    January 11, 2024
                                                        Invoice Number:                        10519243
                                                        Matter Number:                     004856.00022


For Professional Services through December 31, 2023

Client:        Securities and Exchange Commission
Matter:        Roy Hill


               Total Fees                                                            $          6,452.40

               Total Amount Due This Invoice                                         $          6,452.40

               Outstanding Invoices                                                  $         77,131.68

               Grand Total Due                                                       $         83,584.08




ACH and Wire Instructions:                          Remittance Address:
BOKF, NA (FFC Bank of Texas, NA)                    Accounting
ABA Routing Number: 111014325                       Munsch Hardt Kopf & Harr, P.C.
Account Number: 2880510762                          500 N. Akard St., Suite 4000
Swift Code: BAOKUS44                                Dallas, TX 75201-6605

Credit Card or eCheck: https://www.munsch.com/payment

Client or Matter Number and Invoice Number Required.

Federal ID Number: XX-XXXXXXX

For billing inquiries, please contact accounting@munsch.com or (214) 740-5198.



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                                                                                                       INVOICE
                                                                                                         Invoice # 18
                                                                                                    Date: 01/09/2024
                                                                                                  Due On: 02/08/2024
Law Office of Jared J. Perez
301 Druid Rd W
Clearwater, Florida 33756


Mr Tre' Black
1133 S. Madison Avenue
Dallas, TX 75208

00007-Black

Representation of Receiver

     Type     Date                               Notes                              Quantity      Rate        Total

 Expense    11/10/2023   Mileage: Mileage to and from Ocala at 120 miles each         240.00      $0.655     $157.20
                         way.

 Service    11/10/2023   Travel to Ocala (2.0); meet with E. Shelly and                 6.50     $350.00    $2,275.00
                         numerous real estate appraisers (2.5); travel from
                         Ocala (2.0).


                                                                                               Total        $2,432.20




Detailed Statement of Account

 Other Invoices

      Invoice Number           Due On            Amount Due             Payments Received               Balance Due

 6                           07/12/2023                $6,352.20                               $0.00        $6,352.20


 Current Invoice

      Invoice Number           Due On            Amount Due             Payments Received               Balance Due

 18                          02/08/2024                $2,432.20                               $0.00        $2,432.20

                                                                              Outstanding Balance           $8,784.40

                                                                     Total Amount Outstanding               $8,784.40




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                                                                                                           APPX.051
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                                                                                    Invoice # 18 - 01/09/2024



Please make all amounts payable to: Law Office of Jared J. Perez

Please pay within 30 days.




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